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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

 ELANI GRETZER, Individually and On
 Behalf of All Others Similarly Situated,
                                                    Civil Case No. CIV-19-490-R
               Plaintiffs,

               -v-

 STATE OF OKLAHOMA ex rel. BOARD
 OF REGENTS OF THE UNIVERSITY OF
 OKLAHOMA,

               Defendant.


                       NOTICE OF VOLUNTARY DISMISSAL

       COMES NOW the Plaintiff, ELANI GRETZER, Individually and On Behalf of All

Others Similarly Situated, by and through her attorneys of record, Maples, Nix &

Diesselhorst, P.L.L.C., and pursuant to F.R.C.P. 41(a)(1)(A)(i), voluntarily dismisses her

claims against Defendant herein, without prejudice to refiling.

                                                 Respectfully submitted,
                                                 /Nicole Snapp-Holloway
                                                 Jacob D. Diesselhorst, OBA #19446
                                                 Nicole Snapp-Holloway, OBA #18472
                                                 Maples, Nix & Diesselhorst, PLLC
                                                 15401 North May Avenue
                                                 Edmond, OK 73013
                                                 Tel: 800-539-0652
                                                 Facsimile: 405.413.5005
                                                 Jacob@mndlawfirm.com
                                                 Nicole@mndlawfirm.com




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                                  Certificate of Service

      I hereby certify that on September 20, 2019, I electronically transmitted the attached
document to the Clerk of Court using the Electronic Case Filing System for filing. Based
on the records currently on file in this case, the Clerk of Court will transmit a Notice of
Electronic Filing to those registered participants of the ECF System.


Shelly A. Leonard
Steven Bennett Blau




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